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                       11
                                                      UNITED STATES BANKRUPTCY COURT
                       12
                                                      NORTHERN DISTRICT OF CALIFORNIA,
                       13
                                                                   San Jose Division
                       14
                               In re                                        CASE NO. 21-50028 SLJ
                       15
                               EVANDER FRANK KANE,                          Chapter 7
                       16
                                         Debtor.                            Adv. No.
                       17
                                                                            COMPLAINT TO DETERMINE
                       18                                                   NONDISCHARGEABILITY OF DEBT
                                                                            PURSUANT TO: 11 U.S.C. §523(a)(2)(A);
                       19                                                   and 11 U.S.C. §§727(a)(2)-(a)(5)
                       20

                       21

                       22 CENTENNIAL BANK, an Arkansas state
                          chartered bank,
                       23

                       24                Plaintiff.

                       25       vs.

                       26 EVANDER FRANK KANE,

                       27
                                         Defendant.
                       28
   COOPER, WHITE
   & COOPER LLP
     ATTORNEYS AT LAW
                      Case: 21-50028
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
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                          1           Centennial Bank, an Arkansas state chartered bank (“Centennial”), a creditor and party in

                          2 interest in the above captioned chapter 7 bankruptcy case (the “Bankruptcy Case”) of Evander Frank

                          3
                               Kane (the “Debtor”), by and through its undersigned counsel, hereby sues the Debtor and states as
                          4
                               follows:
                          5
                                                                     I.    THE PARTIES
                          6
                                      1.      On January 9, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for
                          7

                          8 relief under Chapter 7 of Title 11, United States Code (the “Bankruptcy Code”) in the United States

                          9 Bankruptcy Court for the Northern District of California, San Jose Division (the “Bankruptcy
                       10 Court”).

                       11
                                      2.      The Debtor is the debtor in the underlying Bankruptcy Case, is an individual who
                       12
                               resides in San Jose County, California, and is otherwise sui juris.
                       13
                                      3.      Centennial is an Arkansas state-chartered bank with its principal place of business in
                       14

                       15 Conway, Arkansas. For FRBP Section 7007.1(a) disclosure purposes, Centennial is entirely held by

                       16 Home BancShares, Inc., a publicly held company.

                       17                                   II.   JURISDICTION AND VENUE
                       18             4.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.
                       19
                                      5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1409 as this adversary
                       20
                               proceeding arises in or relates to the Bankruptcy Case pending before this Court.
                       21
                                      6.      The basis for relief sought in this adversary proceeding is pursuant to Bankruptcy
                       22

                       23 Code §§523 and 727 and Federal Rule of Bankruptcy Procedure 7001 for a judgment (i) determining

                       24 the dischargeability of debt owed to Centennial and (ii) denying the Debtor’s discharge.

                       25             7.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and otherwise; and
                       26
                               pursuant to Bankruptcy Local Rule 7008-1, Centennial consents to the Court's entry of a final
                       27
                               judgment in this adversary proceeding.
                       28
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                          1                             III.   FACTUAL ALLEGATIONS

                          2    A.   Centennial’s Claim Against the Debtor

                          3         8.     On September 5, 2018, the Debtor into a loan agreement with Centennial where the

                          4 Debtor borrowed an amount equal to $3,900,000 from Centennial, and executed and delivered a

                          5 “Promissory Note” (the “Original Note”) to Centennial in the original principal amount of

                          6 $3,900,000 (the “Loan”) in connection therewith. A true and correct coy of the Note is attached

                          7 hereto as Exhibit “A.”

                          8         9.     In addition to the Note, the Loan was secured by and pursuant to the terms of that

                          9 certain “Secured Financial Transaction and Security Agreement” (the “Original Security
                       10 Agreement”), a copy of which is attached hereto as Exhibit “B.” Pursuant to the terms of the

                       11 Security Agreement, the Debtor granted Centennial a perfected security interest in any and all salary

                       12 payments, bonus, or other form of compensation (the “Pledged Payments”) due and payable to the

                       13 Debtor under that certain “Standard Player’s Contract” (the “Player’s Contract”) dated as of May

                       14 25, 2018, as between the Debtor and San Jose Sharks, LLC (the “Sharks”). A copy of the Player’s

                       15 Contract is attached hereto as Exhibit “C.”

                       16           10.    In connection therewith, the Debtor agreed to have all Pledged Payments
                       17 electronically deposited by the Sharks into a controlled deposit account opened with Centennial (the

                       18 “Designated Account”). Centennial was then further authorized to automatically remit funds

                       19 deposited into the Designated Account in payment of the amounts due under the Loan. In this

                       20 manner, Centennial ensured that it would be paid as required by the Note, i.e., by routing the

                       21 Debtor’s Pledged Payments under the Player’s Contract directly to Centennial without the need for

                       22 the Debtor to take any further action.

                       23           11.    Consistent with the terms of the Original Note and Original Security Agreement, the
                       24 Debtor executed in favor of Centennial a “Florida Agreement to Waive Garnishment Protection”

                       25 (the “Garnishment Waiver”), a copy of which is attached hereto as Exhibit “D.” In executing the

                       26 Garnishment Waiver, the Debtor agreed to waive protection from garnishment otherwise potentially

                       27 afforded under Florida law, thereby confirming the Debtor’s promises made to Centennial pursuant

                       28 to the terms of the Original Security Agreement.
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                          1         12.      In receipt of the Original Note, Original Security Agreement, and Garnishment

                          2 Waiver, as the same are amended from time to time (collectively, the “Loan Documents”),

                          3 Centennial advanced all funds as required under the Original Note in accordance with the terms of

                          4 the same.

                          5         13.      At the request of the Debtor, the Loan and Original Note were amended three (3)

                          6 times, thereby renewing, increasing, and amending the Loan as follows:

                          7               a. On October 17, 2018, the Loan was renewed and increased by an additional

                          8                  $2,000,000, resulting in a new principal amount of $5,900,000, as evidenced by that

                          9                  certain “First Amendment to Promissory Note” (the “First Amended Note”), a copy
                       10                    of which is attached hereto as Exhibit “E.”
                       11                 b. On February 28, 2019, the Loan was renewed and increased from $5,181,691.17 to
                       12                    $5,900,000, as evidenced by that certain “Second Amendment to Promissory Note”
                       13                    (the “Second Amended Note”), a copy of which is attached hereto as Exhibit “F.”
                       14                 c. On April 30, 2019, the Loan was renewed and increased from $5,530,501.89 to
                       15                    $8,000,000, as evidenced by that certain “Third Amendment to Promissory Note”
                       16                    (the “Third Amended Note”), a copy of which is attached hereto as Exhibit “G.”
                       17 The Original Note, First Amended Note, Second Amended Note, and Third Amended Note, are

                       18 collectively referred to herein as the “Note.”

                       19           14.      At each stage in which the Debtor executed each of the foregoing amendments to the
                       20 Loan, the Debtor additionally executed a corresponding amendment document to the Original

                       21 Security Agreement as follows:

                       22                 a. On October 17, 2018, the Debtor executed in favor of Centennial that certain “First
                       23                    Amendment to Secured Financial Transaction and Security Agreement” (the “First
                       24                    Amended Security Agreement”), a copy of which is attached hereto as Exhibit “H.”
                       25                 b. On February 28, 2019, the Debtor executed in favor of Centennial that certain
                       26                    “Second Amendment to Secured Financial Transaction and Security Agreement”
                       27                    (the “Second Amended Security Agreement”), a copy of which is attached hereto as
                       28                    Exhibit “I.”
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                          1               c. On April 30, 2019, the Debtor executed in favor of Centennial that certain “Third

                          2                  Amendment to Secured Financial Transaction and Security Agreement” (the “Third

                          3                  Security Agreement”), a copy of which is attached hereto as Exhibit “J.”

                          4 Each of the three (3) foregoing amendments to the Original Security Agreement expressly references

                          5 the new amount of the Loan, and act to amend the Original Security Agreement to simply reflect

                          6 the same as well as the Debtor’s new payment and amortization schedule. In all other respects, and

                          7 to the extent not set forth within the foregoing amendments, the terms, conditions, and provisions

                          8 of the Original Security Agreement continue in full force and effect. The Original Security

                          9 Agreement, First Amended Security Agreement, Second Amended Security Agreement, and Third
                       10 Amended Security Agreement, are collectively referred to herein as the “Security Agreements.”

                       11           15.      The Note and Security Agreements provided Centennial with significant and material

                       12 rights in and to the Player’s Contract in order to secure repayment of the Loan, including inter alia

                       13 the following:

                       14                 a. Section M(1) of the Note provides that the “[Debtor] agrees to direct payments from

                       15                    the Team (as defined above) to Lender for all payments due under this Note.”

                       16                 b. Section B(3) of the Security Agreements provides that the “[Debtor] agrees to

                       17                    authorize the Sharks … to electronically deposit into [the Designated Account] the

                       18                    Pledged Payments that would otherwise be paid directly to [Debtor] by the Pirates

                       19                    … under the Player’s Contract…

                       20                 c. Section B(4) of the Security Agreements provides that the “[Debtor] agrees to allow

                       21                    Lender to directly provide to Sharks … [the Debtor] financial institution information

                       22                    and account and routing numbers, as well as any other relevant instructions for [the

                       23                    Designated Account], so the Sharks may directly deposit the Pledged Payments …”

                       24 Each of the foregoing provisions, as well as the remaining provisions within the Note and Security

                       25 Agreements, were material to Centennial’s decision to agree to enter into and fund the Loan with

                       26 the Debtor.

                       27           16.      Within a few short months after executing the Third Amended Note and Third

                       28 Amended Security Agreement, the Debtor failed to direct deposit any of the Pledged Payments into
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                          1 the Designated Account as required and as promised under the terms of the Note and Security

                          2 Agreement. Instead, the Debtor began to request “live” checks from the Sharks for compensation

                          3 purportedly owed to him by the Shark’s under the Player’s Contract.

                          4         17.     As evidenced by the Debtor’s refusal to directly deposit the Pledged Payments into

                          5 the Designated Account within only a few short months after obtaining a renewal and increase of

                          6 the Note from Centennial, it is evidence that the Debtor never intended to honor its agreement with

                          7 Centennial, and accordingly obtained the Loan under false pretenses and/or through actual fraud.

                          8    B.   The Debtor’s False Oaths

                          9         18.     The Debtor filed his first set of Schedules (the “Original Schedules”) and Statement
                       10 of Financial Affairs (the “Original Statement of Financial Affairs”) on the Petition Date [Doc. 1].

                       11 Since the Petition Date, the Debtor’s Schedule A/B has been amended three times, with the latest

                       12 amended having been filed on February 26, 2021 [Doc. 37]. The Debtor has further caused his

                       13 Schedule D and E/F to be amended by filing dated January 31, 2021 [Doc. 18], his Schedule J to be

                       14 amended by filing dated February 19, 2021 [Doc. 30], and his Schedule C to be amended by filing

                       15 dated February 26, 2021 [Doc. 37]. Additionally, the Debtor amended his Original Statement of

                       16 Financial Affairs”) on February 17, 2021 (the “Statement of Financial Affairs”) [Doc. 29]. Despite

                       17 the numerous amendments filed by the Debtor, the Debtor’s Schedules and Statement of Financial

                       18 Affairs are still littered with numerous discrepancies and omissions.

                       19           19.     First, the Debtor indicated on his sworn voluntary petition (the “Petition”) [Doc. 1],

                       20 that his debts are primarily business debts – likely in a preemptive and premediated effort to avoid

                       21 the means tens under Bankruptcy Code §707(b) by arguing that his debts are not primarily consumer

                       22 debts. However, contrary to this effort, the Debtor only lists three (3) business interest on his

                       23 amended Schedule A/B [Doc. 37], namely (i) Ascher Capital II and III LLC which the Debtor made

                       24 a $750,000 investment but is uncertain of his actual membership share, (ii) Lions Properties LLC

                       25 which the Debtor identifies as having no assets, and (iii) Ownership of EK9 Marketing LLC that the

                       26 Debtor has testified is inactive and has no assets. Both Lions Properties LLC and EK9 Marketing

                       27 LLC are additional listed as two of the three business interest listed under question 27 of the Debtor’s

                       28 Statement of Financial Affairs [Doc. 29] in regard to “[w]ithin 4 years before you filed for
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                          1 bankruptcy, did you own a business or have any of the following connections to any business?” The

                          2 third entity listed in question 27 is Evander Kane LLC, but the Debtor confirms that this entity has

                          3 since been dissolved. In addition, on the amended Schedule A/B [Doc. 37], question 18, which

                          4 requires disclosure of “bonds, mutual funds, or publicly traded stocks,” the Debtor responded that

                          5 he had no such interest. Moreover, on the Statement of Financial Affairs [Doc. 29], in response to

                          6 question 4, “[d]id you have any income from employment or from operating a business during this

                          7 year or the two previous calendar years,” the Debtor only source of income is identified of having

                          8 been derived from the Player’s Contract. Given the above, it is incomprehensible that the majority

                          9 of the Debtor’s debt could be considered business related. Lastly, an das set forth below, the Debtor
                       10 has not been able to explain, and has made no apparent effort to investigate and locate, the

                       11 disposition of millions of in player salary. Since he apparently cannot, or does not wish to, explain

                       12 the use and disposition of such funds, it is hard to understand how he can claim that the debts are

                       13 “primarily business debts.” All at a time when the Debtor cannot recall whether or not he had every

                       14 invested in any other business venture or entity other than those listed in his Schedules or owned

                       15 any other real property other than what is currently listed on his Schedules.

                       16            20.    The Debtor has failed to list on either his Original Statement of Financial Affairs or
                       17 Statement of Financial Affairs as amended [Doc. 29], transfers that he made to insiders within one

                       18 (1) year prior to the Petition Date as required by question 8. The Debtor failed to do so despite listed

                       19 in his amended Schedule J [Doc. 30], a monthly expense of $15,000 in payments that the Debtor

                       20 makes to support his mother, father, grandmother, and uncles. However, during Centennial’s

                       21 examination of the Debtor pursuant to Federal Rule of Bankruptcy Procedure 2004 (the “2004

                       22 Examination”) that occurred on March 24, 2021, the Debtor testified under oath that during 2020 he

                       23 (i) routinely transfers thousands of dollars to his mother monthly, (ii) pays for his families’ credit

                       24 card debt, (iii) pays for his father’s monthly automobile loan payment, (iv) pays for the mortgage

                       25 on a property purportedly owned jointly by the Debtor and his mother, and (v) covers for the living

                       26 expenses of his mother and father in Canada. The Debtor’s payments to his family members were

                       27 also not disclosed in response to question 12 of the Statement of Financial Affairs. No amendments

                       28 have been filed by the Debtor with this critical information.
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                          1          21.    The Debtor also failed to disclose in his Statement of Financial Affairs [Doc. 29] that

                          2 within the two (2) years prior to the Petition Date the Debtor sold, traded, or otherwise transferred

                          3 property as required by question 18. In the Debtor’s dealings with Centennial, the Debtor or an

                          4 agent of the Debtor identified certain personal assets owned by the Debtor in order to induce

                          5 Centennial to make the Loan. Part of these assets included the two (2) Canadian properties identified

                          6 on the Debtor’s Schedule A/B [Doc. 37]; however, a third Canadian property was also identified but

                          7 the Debtor has failed to list the same on his Schedules (the “Undisclosed Residential Property”).

                          8 Given that the Debtor’s dealings with Centennial began in late 2018, to the extent the Debtor no

                          9 longer claims an interest in the Undisclosed Residential Property, the Debtor should have identified
                       10 the same in question 18 - as the sale, trade, or transfer of the Debtor’s interest in the Undisclosed

                       11 Residential Property would have occurred within the two (2) years preceding the Petition Date.

                       12 Instead, the Debtor only discloses the fact that he transferred two (2) Rolex watches to pay certain

                       13 gambling debt. To the extent that the Debtor now contends that he has never owned the third

                       14 Undisclosed Residential Property, then this confirms that the Debtor communicated false

                       15 information regarding his financial affairs to Centennial in order to obtain the Loan. Centennial

                       16 reserves the right to amend this complaint, and specifically Count I below, to the extent the Debtor

                       17 denies this allegation.

                       18            22.    The Debtor has significantly undervalued and underreported his monthly income as
                       19 listed on the Debtor’s Schedule I [Doc. 1]. In part 2 of Schedule I, the Debtor states that his gross

                       20 monthly is $0. And while the Debtor list additional monthly income on line 8.h as $2,083.33 as

                       21 “[i]ncome from podcast,” the Debtor has confirmed that said podcast never produced an episode

                       22 and is not expecting to in the future. Although the Debtor attempts to provide an explanation for

                       23 his grossly underreported monthly income in an “Attachment to Schedule I,” the Debtor has failed

                       24 to amend his Schedule I to account for the fact that the Debtor’s year to date gross earnings as of

                       25 February 26, 2021 was $879, 387.93.

                       26      C.    The Debtor’s Inability to Account for and Explain Dissipation of Assets
                       27            23.    At both the 2004 Examination and the Debtor’s 341 Meeting, the Debtor had only
                       28 the most superficial knowledge regarding his assets and liabilities. Most importantly, the Debtor
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                          1 had no real knowledge, or simply did not wish to disclose, the use and disposition of the many

                          2 millions of dollars the Debtor has earned as a professional ice hockey player of the course of eleven

                          3 (11) years.

                          4          24.    In addition to the Loan described above, the Debtor identifies that he has taken out

                          5 additional loans at both Zions Bancorporation (“Zions”) and Professional Bank (“Professional”),

                          6 the “Zions Loan” and “Professional Loan” respectively. The Debtor has testified that the Loan,

                          7 Zions Loan, and Professional Loan (collectively, the “Non-Residential Property Loans”) were

                          8 incurred by the Debtor in order to pay off certain high interest loans the Debtor had previously taken

                          9 out at several different institutions (collectively, the “High Interest Loans”). However, when
                       10 questioned at his 341 Meeting, the Debtor could not recall for what purpose the High Interest Loans

                       11 were incurred. Even with the benefit of a passage of time of nearly thirty (30) days between the 341

                       12 Meeting and 2004 Examination, when presented with a series of questions regarding the High

                       13 Interest Loans the Debtor was unable to explain what the funds were actually used for or when the

                       14 debt was incurred.

                       15            25.    During both the Debtors 341 Meeting and 2004 Examination, the Debtor could not
                       16 explain a significant number of charges, withdrawals, and deposits listed within the Debtor’s various

                       17 banking accounts. For example, in the Debtor’s Ryal Bank of Canada Account ending in -0532,

                       18 three (3) transfers totaling $50,000 can be identified as leaving the Debtor’s account on January 17,

                       19 2020, but the Debtor was unable to explain to what account the money was being transferred too

                       20 and for what purpose. Similarly, on March 31, 2020, the Debtor received $100,000 into his Royal

                       21 Bank of Canada account ending in -5955, but could not explain where said money came from. The

                       22 same explanation was given for another $100,000 deposit that the Debtor received into his -5955

                       23 account. Similarly, on October 14, 2020, the Debtor received a total of $131,000 in deposits into

                       24 the -5955 account that he could not explain. Additionally, there are number of entries in the Debtor’s

                       25 Wells Fargo account ending in -1607 where the Debtor was unable to recall why certain withdraws

                       26 were made. This is just a sample of the Debtor’s inability to explain the source and use of funds.

                       27            26.    Furthermore, for certain unsecured loans listed in the Debtor’s amended Schedule
                       28 E/F [Doc. 18], including the unsecured loans listed for Davis Sanchez, Mike Lispti, Pete Gianakas,
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                          1 Raj Banghu, and Tony Veltri, the Debtor does not have any documentation relating to said unsecured

                          2 loans, does not know exactly when each debt was incurred, and does not know exactly what each

                          3 loan was used for.

                          4            27.     Although the Debtor has testified that he lost approximately $1,500,000 in gambling

                          5 and sports betting during the one (1) year prior to the Petition Date, the Debtor, as his 341 Meeting,

                          6 was unable to approximate the total gambling losses he has incurred before 2020.

                          7            28.     The Debtor further could not recall whether or not he had every invested in any other

                          8 business venture or entity other than those listed in his Schedules or owned any other real property

                          9 other than what is currently listed on his Schedules.
                       10

                       11                                                    COUNT I

                       12             (NONDISCHARGEABILITY OF DEBT PURSUANT TO 11 U.S.C. §523(a)(2)(A)

                       13
                                       29.     Centennial realleges and reincorporates paragraphs 1 through 28 above as though
                       14
                               fully set forth herein.
                       15
                                       30.     Pursuant to 11 U.S.C. §523(a), “[a] discharge under section 727 … of this title does
                       16
                               not discharge an individual debtor from any debt … (2) for money, property, services … to the
                       17
                               extent obtained by – (A) false pretenses, a false representation, or actual fraud ….”
                       18
                                       31.     Centennial entered into the Note and Security Agreement in good faith, and
                       19
                               performed its part under the Note and Security Agreement in full.
                       20
                                       32.     At the time of entering in to the Third Amended Note and Third Amended Security
                       21
                               Agreement, the Debtor falsely represented to Centennial that he agreed to the provisions of the same,
                       22
                               i.e.
                       23
                                       33.     Centennial reasonably relied on the Debtor’s representations that was entering into
                       24
                               the Note and Security Agreement in good faith and with every intention of complying with the terms
                       25
                               of the same. Had Centennial known that the Debtor intended not to abide by the terms of the
                       26
                               Security Agreement, Centennial would not have entered into the Note, or at the very least, would
                       27
                               not have entered into the Third Amended Note, thereby not extending to the Debtor an additional $
                       28
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                          1            34.     The Debtor’s conduct at the time that he entered into the Third Amended Note and

                          2 Third Amended Security Agreement with Centennial constitutes false pretenses and/or false

                          3 representations, which the Debtor knew to be false.

                          4            35.     Centennial believes that additional discovery may uncover additional fraudulent

                          5 statements made by the Debtor, specifically, the Debtor’s financial condition as communicated to

                          6 Centennial at the time in which the Debtor requested the Loan. As identified above, certain personal

                          7 assets were disclosed to Centennial in order to induce Centennial to enter into its lending relationship

                          8 with the Debtor; however, the certain of those assets have not been disclosed in the Bankruptcy

                          9 Case, leading to only one of two conclusions either (i) the Debtor lied to Centennial in order to
                       10 receive the Loan, or (ii) the Debtor lied in his Schedules. Accordingly, Centennial reserves the right

                       11 to amend this complaint, and more specifically this Count I.

                       12              36.     Accordingly, Centennial requests that this Court enter a judgment declaring that
                       13 Centennial’s claim against the Debtor is non-dischargeable.

                       14              WHEREFORE, Centennial respectfully requests a judgment (i) declaring that Centennial’s
                       15 claim against the Debtor is non-dischargeable pursuant to 11 U.S.C. §523(a)(2)(A); (ii) awarding

                       16 costs and fees if applicable; and (iii) granting such other and further relief as is proper.

                       17                                                   COUNT II

                       18                    (DENIAL OF DISCHARGE PURSUANT TO 11 U.S.C. §727(a)(2))

                       19
                                       37.     Centennial realleges and reincorporates paragraphs 1 through 28 above as though
                       20
                               fully set forth herein.
                       21
                                       38.     Pursuant to 11 U.S.C. §727(a)(2), an individual debtor is not entitled to a discharge
                       22
                               if the debtor, with the “intent to hinder, delay, or defraud a creditor or an officer of the estate…has
                       23
                               transferred, removed, destroyed, mutilated, or concealed, or has permitted to be transferred,
                       24
                               removed, destroyed, mutilated, or concealed…property of the debtor, within one year before the
                       25
                               date of the filing of the petition.”
                       26
                                       39.     Through the Debtor’s dealings with Centennial, including as late as March 2019, the
                       27
                               Debtor indicated to Centennial that he owned the Undisclosed Residential Property.
                       28
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                          1         40.     In filing the Bankruptcy Case, the Debtor has failed to identify the Undisclosed

                          2 Residential Property as an asset.

                          3         41.     In light of the foregoing, and upon information and belief, the Debtor transferred or

                          4 removed, or permitted to be transferred or removed, his equity in the Undisclosed Residential

                          5 Property.

                          6         42.     As of the date of the foregoing transfer or removal, the Debtor had one or more

                          7 unsecured creditors.

                          8         43.     The transfer or removal of the Debtor’s property has prevented the distribution of the

                          9 same to the Debtor’s unsecured creditors.
                       10           44.     Upon information and belief, the Debtor, with intent to hinder, delay, or defraud at
                       11 least one of his creditors, transferred or removed, or permitted to be transferred or removed, the

                       12 Debtor’s property.

                       13           45.     By transferring or removing, or permitting the transfer or removal of the Debtor’s
                       14 property with the intent to hinder, delay, or defraud at least on of his creditors, the Debtor has

                       15 violated the provisions of 11 U.S.C. §727(a)(2)(A).

                       16           WHEREFORE, Centennial respectfully requests a judgment (i) denying the Debtor’s
                       17 discharge pursuant to 11 U.S.C. §727(a)(2); (ii) awarding costs and fees if applicable; and (iii)

                       18 granting such other and further relief as is proper.

                       19                                               COUNT III

                       20                     (DENIAL OF DISCHARGE PURSUANT TO 11 U.S.C. §727(a)(3))

                       21

                       22           46.     Centennial realleges and reincorporates paragraphs 1 through 28 above as though

                       23 fully set forth herein.

                       24           47.     Pursuant to 11 U.S.C. §727(a)(3), an individual debtor is not entitled to a discharge

                       25 if the debtor has “concealed, destroyed, mutilated, falsified, or failed to keep or preserve any

                       26 recorded information … from which the debtor’s financial condition or business transactions might

                       27 be ascertained ….”

                       28           48.     The Debtor has testified under oath that the Non-Residential Bank Loans were used
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                          1 by the Debtor to pay off the preexisting High Interest Loans. However, the Debtor has failed to

                          2 explain and cannot explain what the High Interest Loans were used for, when High Interest Loans

                          3 were incurred, or through what financial institution the Debtor received the High Interest Loans

                          4 from. The Debtor has confirmed that he personally does not maintain any books or records, or any

                          5 documents whatsoever, regarding the High Interest Loans.

                          6          49.    The Debtor’s bank statements for the year 2020 contain a number of entries that the

                          7 Debtor cannot explain, including (i) where certain deposits came from, (ii) where certain transfers

                          8 or withdrawals were made, and (iii) for what purpose certain funds were withdrawn or transferred

                          9 out of certain accounts. The Debtor’s lack of written records regarding the foregoing deters creditors
                       10 like Centennial’s ability to fully ascertain the Debtor’s financial condition.

                       11            50.    The Debtor cannot recall whether or not he has owned any other real property or held
                       12 any other ownership, membership, or partnership interest in any other business venture other than

                       13 those minimal business entities and real property listed on the Debtor’s Schedules, thus confirming

                       14 either (i) the Debtor has held no such additional interest and therefore is unable to satisfactorily

                       15 explain the dissipation of assets, or (ii) failed maintain adequate records regarding said interests.

                       16            51.    As identified below, the Debtor failed to list on his Schedules his prior ownership
                       17 and sale of the Undisclosed Residential Property, and therefore presumably has failed to maintain

                       18 appropriate records regarding the same.

                       19            52.    By virtue of the foregoing, and without limitation, the Debtor has concealed,
                       20 destroyed, mutilated, falsified, or failed to keep or preserve any recorded information, including

                       21 books, documents, records, and papers from which a creditor like Centennial can reasonably

                       22 ascertain the Debtor’s financial condition or business transactions. Accordingly, the Debtor’s

                       23 discharge should be denied under 11 U.S.C. §727(a)(3).

                       24            WHEREFORE, Centennial respectfully requests a judgment (i) denying the Debtor’s
                       25 discharge pursuant to 11 U.S.C. §727(a)(3); (ii) awarding costs and fees if applicable; and (iii)

                       26 granting such other and further relief as is proper.

                       27

                       28
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                          1                                                COUNT IV

                          2                  (DENIAL OF DISCHARGE PURSUANT TO 11 U.S.C. §727(a)(4)(A))

                          3
                                       53.     Centennial realleges and reincorporates paragraphs 1 through 28 above as though
                          4
                               fully set forth herein.
                          5
                                       54.     Pursuant to 11 U.S.C. §727(a)(4)(A), as a consequence of knowingly and
                          6
                               fraudulently making a false oath or account in or in connection with the Bankruptcy Case, the Debtor
                          7
                               is not entitled to a discharge under Bankruptcy Code §727.
                          8
                                       55.     The Debtor intentionally omitted from his Statement of Affairs disclosure of the fact
                          9
                               that the Debtor sold, traded, or otherwise transferred the Undisclosed Residential Property within
                       10
                               two (2) years preceding the Petition Date.       Such sale, trade, or transfer of the Undisclosed
                       11
                               Residential Property was not in the ordinary course of the Debtor’s business or financial affairs, as
                       12
                               the Debtor is a professional ice hockey player who has no active business enterprise. During the
                       13
                               Debtor’s 2004 Examination, the Debtor testified under oath that he was could not recall whether or
                       14
                               not he owned any other property other than the Residential Property listed on his Schedules. Such
                       15
                               testimony was demonstratively false as the Debtor failed to disclose his ownership of the
                       16
                               Undisclosed Residential Property.
                       17
                                       56.     The Debtor further intentionally omitted from his Statement of Affairs disclosure of
                       18
                               the fact that within the one (1) year preceding the Petition Date, the Debtor not only made payments
                       19
                               on account of debts that benefited insiders of the Debtor, but that the Debtor gave gifts to insiders
                       20
                               with a total value of more than $600 per person. To be sure, the Debtor routinely transfers thousands
                       21
                               of dollars to his mother on a monthly basis. Moreover, the Debtor (i) routinely pays off the credit
                       22
                               card debt of his family members, (ii) covers the monthly automobile loan payment for his father,
                       23
                               (iii) covers the monthly mortgage payment on a property purportedly jointly owned by the Debtor
                       24
                               and his mother, and (iv) covers the living expenses of his parents in Canada.
                       25
                                       57.     The Debtor intentionally grossly underreported his monthly income derived under
                       26
                               his Player’s contract.
                       27
                                       58.     The Debtor intentionally misrepresented in his sworn Petition that his debts were
                       28
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                          1 primarily business debts, a preemptive and premediated effort to avoid the means test under

                          2 Bankruptcy Code §707(b).

                          3            59.     The false oaths described hereinabove were made knowingly and fraudulently by the

                          4 Debtor because, at the time of the specified filings or testimony, the Debtor knew that the

                          5 information being provided was not true nor complete, but nonetheless made such false oaths for

                          6 the purpose of concealing property or information.

                          7            60.     By virtue of the foregoing, and without limitation, the Debtor has knowingly and

                          8 fraudulently, in or in connection with the Bankruptcy Case, made a false oath or account.

                          9            61.     Centennial believes that further discovery will reveal further material falsehoods and
                       10 omissions made by the Debtor in connection with the Bankruptcy Case.

                       11              WHEREFORE, Centennial respectfully requests a judgment (i) denying the Debtor’s
                       12 discharge pursuant to 11 U.S.C. §727(a)(4)(A); (ii) awarding costs and fees if applicable; and (iii)

                       13 granting such other and further relief as is proper.

                       14                                                    COUNT V

                       15                    (DENIAL OF DISCHARGE PURSUANT TO 11 U.S.C. §727(a)(5))

                       16
                                       62.     Centennial realleges and reincorporates paragraphs 1 through 28 above as though
                       17
                               fully set forth herein.
                       18
                                       63.     Pursuant to 11 U.S.C. §727(a)(5), an individual debtor is not entitled to a discharge
                       19
                               if the debtor has failed to explain satisfactorily, before determination of denial of discharge under
                       20
                               this paragraph, any loss of assets or deficiency of assets to meet the debtor’s liabilities.
                       21
                                       64.     Based upon the filed poof of claims submitted by creditors in the Bankruptcy Case,
                       22
                               as well as information sworn to by the Debtor in his Schedules, between 2017 and 2020, the Debtor
                       23
                               received a combination of loan funds and salary totaling at least $40,000,000. Specifically, starting
                       24
                               with the 2017-2018 season and through the 2019-2020 season (i.e. not even taking into account the
                       25
                               2020-2021 current hockey season), the Debtor received $20,000,000 in compensation under the
                       26
                               Player’s Contract. During that same time period, the Debtor received at minimum: (i) $8,000,000
                       27
                               in borrowed funds from Centennial, (ii) $4,250,000 in borrowed funds from Zions, (iii) $1,500,000
                       28
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                          1 in borrowed funds from Professional, (iv) $600,000 in borrowed funds from South River Capital,

                          2 LLC, and (v) $100,000 in borrowed funds from Raj Bhangu. In addition to the foregoing, the

                          3 Debtor’s Schedules lists additional unsecured claims totaling $2,050,000 arising from borrowed

                          4 funds from various personal and/or family friends of which the Debtor does not know the date in

                          5 which such loans were incurred. Moreover, the Debtor identifies that shortly before this period an

                          6 during, the Debtor borrowed an additional $7,150,000 in funds from other financial institutions that

                          7 are secured by the Debtor’s Real Properties – the only meaningful assets identified in the Schedules.

                          8          65.    What is more, throughout his eleven (11) year career as a professional ice hockey

                          9 player, the Debtor has earned nearly $50,000,000, and yet, the Debtor is unable to provide basic
                       10 information as to where said monies has disappeared too.

                       11            66.    The Debtor has provided no meaningful explanation as to what happened to that
                       12 money, where it went, what it was spent on, and whether it still exists in bank accounts or assets.

                       13 Clearly, the assets listed on the Debtor’s Schedules, giving the Debtor the full benefit of the doubt

                       14 on values, are worth only $10,229,096.65. Therefore, a substantial amount of money is missing,

                       15 unexplained, and unaccounted for.

                       16            67.    Between the millions of dollars of loan proceeds received by the Debtor, together
                       17 with the $20,000,000 of income received over the last three (3) years immediately preceding the

                       18 Petition Date, and the significant monthly income projected to be received by the Debtor both under

                       19 the Player’s Contract and from Federal Tax Returns, the assets of this estate should be more than

                       20 sufficient to meet the Debtor’s liabilities. Yet, there is reportedly only $10,229,096.65 in assets

                       21 with filed claims of nearly $28,191,340. Notably, of the Debtor’s listed assets, $7,150,000 worth

                       22 of identified assets are encumbered by loans that are otherwise not the Non-Residential Properties

                       23 Loans.

                       24            68.    Amazingly the Debtor has not and cannot explain where his money has been spent
                       25 or where his assets have gone. The Debtor has failed to provide a sufficient explanation anywhere

                       26 in his Schedules or Statement of Financial Affairs regarding the loss and deficiency of assets

                       27 sufficient to meet his liabilities, and has certainly not otherwise provided a satisfactory explanation.

                       28            WHEREFORE, Centennial respectfully requests a judgment (i) denying the Debtor’s
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                          1 discharge pursuant to 11 U.S.C. §727(a)(5); (ii) awarding costs and fees if appliable; and (iii)

                          2 granting such other and further relief as is proper.

                          3                                            PRAYER FOR RELIEF

                          4                WHEREFORE, Centennial prays for judgment against the Debtor on all counts above and

                          5 as follows:

                          6        a. For a determination that Centennial’s claim against the Debtor is non-dischargeable

                          7                pursuant to 11 U.S.C. §523(a)(2)(A);

                          8        b. For a determination that the Debtor is not entitled to a discharge pursuant to 11 U.S.C.

                          9                §727(a)(2);
                       10          c. For a determination that the Debtor is not entitled to a discharge pursuant to 11 U.S.C.
                       11                  §727(a)(3);
                       12          d. For a determination that the Debtor is not entitled to a discharge pursuant to 11 U.S.C.
                       13                  §727(a)((4)(A);
                       14          e. For a determination that the Debtor is not entitled to a discharge pursuant to 11 U.S.C.
                       15                  §727(a)(5);
                       16          f. For costs of suit incurred herein;
                       17          g. For such reasonable attorneys’ fees as are recoverable according to applicable law; and
                       18          h. For such other and further relief that this Court deems to be just and proper.
                       19

                       20 DATED: May 5, 2021

                       21

                       22           ANTHONY & PARTNERS, LLC                          COOPER, WHITE & COOPER LLP

                       23

                       24
                                    By:             /s/ John A. Anthony             By:        /s/ Peter C. Califano
                       25                    John A. Anthony                            Peter C. Califano
                                             Attorneys for Creditor Centennial Bank     Attorneys for Creditor Centennial Bank
                       26

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